Case 2:04-cr-20311-.]PI\/| Document 200 Filed 08/25/05 Page 10f2 Page|D 290 _

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uNlTED sTATEs oF AMERICA, ) mesa GOULD
) Ci.EPi& U.S. D!STP£TGURT
Plaintiff, ) WFD OF TN‘ m
)
vs. ) Cr. No. 04-20311-Nll
)
vENCEL MARTIN, )
)
Defendant. )

 

ORDER

 

Based upon the oral motion of the United States and for good cause shown, lt is
hereby Ordered that counts 1, 2, 6,17. 33, 41, 42, 43, and 47 of the |nidctment in this

cause are dismissed against defendant Vence| Niartin.

QWU

Jo Phipps IV|cCa||a
nited States District Judge

ENTERED this .’H day ofAugust,zoos.

 
  

 

Approved:

Terre|| i_. Harris
United States Attorney

by: wal::/ fmb-_-

Vivian R. Done|son
Assistant United States Attorney

This document entered on the dockets eegl com |iance gm
With F\uie C,“ and/or 32(b) FFiCrP on "

UNITED `SATES DISTRICT COUR - WTERN D'S'TRCT OFTENNESSEE

     

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Honorable J on McCalla
US DISTRICT COURT

